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                                          July 10, 2023

VIA CM/ECF

Honorable Araceli Martínez-Olguín
United States District Court
San Francisco Courthouse, 19th Floor
450 Golden Gate Avenue,
San Francisco, CA 94102

       Re:     Cedric de Lisser as Trustee et al. v. Lockton Companies LLC et al.
               Case No. 3:23-cv-00243-AMO

Dear Judge Martínez-Olguín:

        We are counsel to Plaintiffs, the Trustees of the Cred Liquidation Trust in the above-
referenced case. In accordance with the Court’s order of May 10, 2023 (“Order”) [Dkt. 39], issued
in connection with the assignment of numerous cases to your Honor, any hearing dates were
required to be re-noticed for hearing before you “by the moving party for a date consistent with
the Courts law and motion calendar, but the re-noticing of the hearing [was not intended] to affect
the prior briefing schedule.”

        Plaintiffs’ Motion for Remand [Dkt. 29] was fully briefed by the time of the Order was
issued, and the parties had been informed on March 27, 2023, that “the motion to remand, Dkt. 29,
is suitable for decision without oral argument pursuant to Civil Local Rule 7-1(b). [Dkt. 37]. The
hearing set for March 30, 2023, was thus vacated shortly before its scheduled date. [Dkt. 37].

        We are awaiting a decision on the Motion to Remand. We seek to confirm that the Court
does not desire us to re-notice a hearing on the Motion for Remand, and instead, intended to follow
the determination of Judge Donato that no hearing is necessary. In the latter case, we would, of
course, await a decision. If your Honor desires us to re-notice the Motion to Remand, we will do
so promptly.

        The Order also directed that all case management conference dates be vacated. [Dkt. 39].
There had been no prior case management conference because one scheduled for April was
cancelled before the case was reassigned to Your Honor. [Dkt. 38]. After this Court issued the
Order, the parties were required to file a Joint Case Management Statement on or before May 31,
2023. [Dkt. 39]. The parties timely complied with this requirement and agreed that discovery
would begin on August 14, 2023. The parties, however, disagreed on other scheduling dates, and



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each party included proposed dates in the Joint Case Management Statement. The parties also
agreed to exchange initial disclosures by August 1, 2023.

        Since the parties agreed to begin discovery on August 14, 2023, we respectfully request
that a case management conference be scheduled prior to that date so that the other dates in the
Joint Case Management Statement can be established. A conference could ensure that the parties
begin discovery as agreed with clear guidance about the schedule.


                                                   Respectfully submitted,

                                                   Angela J. Somers
                                                   Angela J. Somers
                                                   REID COLLINS & TSAI LLP
